        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF NORTH CAROLINA


NORTH CAROLINA STATE                       )
CONFERENCE OF THE                          )
NAACP et al,                               )
                                           )
                       Plaintiffs,         )
                                           )           1:18CV1034
             v.                            )
                                           )
ROY A COOPER, III, et al,                  )
                                           )
                       Defendants.         )



                  NOTICE OF HEARING
                                      =============

      TAKE NOTICE that a proceeding in this case has been set as indicated below:

      PLACE:                   Hiram H. Ward Bldg., 251 N. Main St.,
                               Winston-Salem, NC, Courtroom No. 4
      DATE & TIME:             May 2, 2024 – 10:00 a.m.
      PROCEEDING:              Final Pretrial Conference


John S. Brubaker, Clerk

By:   /s/ Debbie Blay, Case Manager

Date: April 18, 2024

TO:   ALL COUNSEL AND/OR PARTIES OF RECORD




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